        Case 1:24-cv-03973-AS         Document 335         Filed 11/07/24      Page 1 of 8




VIA ECF
The Honorable Arun Subramanian                                                   November 6, 2024
United States District Judge
United States District Court, Southern District of New York
500 Pearl Street, Courtroom 15A
New York, NY 10007

Re:    United States, et al. v. Live Nation Entertainment, Inc., et al., No. 1:24-cv-03973

Dear Judge Subramanian:

        Pursuant to the Court’s order dated October 30, 2024 (Dkt. No. 329), Plaintiffs and
Defendants submit this joint letter advising the Court of the parties’ efforts to reach consensus on
the proposed amendment to the Protective Order. Attached as Exhibit A is a redline reflecting
the Parties’ remaining disagreements as to the content of the proposed amendment to the
Protective Order. The black text reflects Plaintiffs’ proposed language. The redlined text
reflects Defendants’ proposed changes to Plaintiffs’ proposal as to which the Parties have not
reached agreement. Attached as Exhibit B is a clean version of Plaintiffs’ proposal following the
October 29th hearing. Attached as Exhibit C is a clean version of Defendants’ proposal.




                                  [signatures on following page]




                                                 1
       Case 1:24-cv-03973-AS        Document 335         Filed 11/07/24       Page 2 of 8




Dated November 6, 2024

Respectfully submitted,

LATHAM & WATKINS LLP                              CRAVATH, SWAINE & MOORE LLP

/s/ Alfred C. Pfeiffer                            /s/ David R. Marriott
Alfred C. Pfeiffer (admitted pro hac vice)        David R. Marriott
    Co-Lead Trial Counsel                             Co-Lead Trial Counsel
Timothy L. O’Mara (admitted pro hac vice)         Lauren A. Moskowitz
Jennifer L. Giordano                              Jesse M. Weiss
Andrew M. Gass (admitted pro hac vice)            Nicole M. Peles
Kelly S. Fayne (admitted pro hac vice)
Lindsey S. Champlin (admitted pro hac vice)       Two Manhattan West
Robin L. Gushman (admitted pro hac vice)          375 Ninth Avenue
                                                  New York, NY 10001
505 Montgomery Street, Suite 2000                 (212) 474-1000
San Francisco, CA 94111
(415) 391-0600                                    dmarriott@cravath.com
                                                  lmoskowitz@cravath.com
555 11th Street, NW, Suite 1000                   jweiss@cravath.com
Washington, D.C. 20004                            npeles@cravath.com
(202) 637-2200
                                                  Attorneys for Defendants Live Nation
Al.Pfeiffer@lw.com                                Entertainment, Inc. and Ticketmaster L.L.C.
Tim.O’Mara@lw.com
Jennifer.Giordano@lw.com
Andrew.Gass@lw.com
Kelly.Fayne@lw.com
Lindsey.Champlin@lw.com
Robin.Gushman@lw.com

Attorneys for Defendants Live Nation
Entertainment, Inc. and Ticketmaster L.L.C.




                                              2
        Case 1:24-cv-03973-AS           Document 335    Filed 11/07/24     Page 3 of 8




/s/ Bonny Sweeney
BONNY SWEENEY
Lead Trial Counsel
John R. Thornburgh II
Trial Attorney
United States Department of Justice
Antitrust Division
450 Fifth Street N.W., Suite 4000
Washington, DC 20530
Telephone: (202) 725-0165
Facsimile: (202) 514-7308
Bonny.Sweeney@usdoj.gov
John.Thornburgh@usdoj.gov
Attorneys for Plaintiff United States

/s/ Robert A. Bernheim                             /s/ Paula Lauren Gibson
Robert A. Bernheim (admitted pro hac vice)         Paula Lauren Gibson (Admitted Pro Hac
Office of the Arizona Attorney General             Vice)
Consumer Protection & Advocacy Section             Deputy Attorney General
2005 N. Central Avenue                             (CA Bar No. 100780)
Phoenix, AZ 85004                                  Office of the Attorney General
Telephone: (602) 542-3725                          California Department of Justice
Fax: (602) 542-4377                                300 South Spring Street, Suite 1702
Robert.Bernheim@azag.gov                           Los Angeles, CA 90013
Attorney for Plaintiff State of Arizona            Tel: (213) 269-6040
                                                   Email: paula.gibson@doj.ca.gov
/s/ Amanda J. Wentz
                                                   Attorney for Plaintiff State of California
Amanda J. Wentz (admitted pro hac vice)
Assistant Attorney General                         /s/ Conor J. May
Arkansas Attorney General's Office                 Conor J. May (admitted pro hac vice)
323 Center Street, Suite 200                       Assistant Attorney General
Little Rock, AR 72201                              Antitrust Unit
Phone: (501) 682-1178                              Colorado Department of Law
Fax: (501) 682-8118                                Conor.May@coag.gov
Email: amanda.wentz@arkansasag.gov                 1300 Broadway, 7th Floor
Attorney for Plaintiff State of Arkansas           Denver, CO 80203
                                                   Telephone: (720) 508-6000
                                                   Attorney for Plaintiff State of Colorado




                                               3
       Case 1:24-cv-03973-AS          Document 335     Filed 11/07/24      Page 4 of 8




 /s/ Kim Carlson McGee                            /s/ Jesse Moore
Kim Carlson McGee (admitted pro hac vice)         Jesse Moore (pro hac vice forthcoming)
Assistant Attorney General                        Deputy Attorney General
Office of the Attorney General of                 Jesse.Moore@atg.in.gov
Connecticut                                       Office of the Indiana Attorney General
165 Capitol Avenue                                302 W. Washington St., Fifth Floor
Hartford, CT 06106                                Indianapolis, IN 46204
Telephone: 860-808-5030                           Phone: 317-232-4956
Email: kim.mcgee@ct.gov                           Attorney for the Plaintiff State of Indiana
Attorney for Plaintiff State of Connecticut
                                                  /s/ Noah Goerlitz
/s/ Adam Gitlin                                   Noah Goerlitz (pro hac vice forthcoming)
Adam Gitlin (pro hac vice forthcoming)            Assistant Attorney General
Chief, Antitrust and Nonprofit Enforcement        Office of the Iowa Attorney General
Section                                           1305 E. Walnut St.
Office of the Attorney General for the            Des Moines, IA 50319
District of Columbia                              Tel: (515) 281-5164
400 6th Street NW, 10th Floor                     noah.goerlitz@ag.iowa.gov
Washington, DC 20001                              Attorney for Plaintiff State of Iowa
Adam.gitlin@dc.gov
Attorney for Plaintiff District of Columbia       /s/ Lynette R. Bakker
                                                  Lynette R. Bakker (pro hac vice
 /s/ Lizabeth A. Brady                            forthcoming)
Lizabeth A. Brady                                 First Assistant Attorney General
Director, Antitrust Division                      Antitrust & Business Organizations
Liz.Brady@myfloridalegal.com                      lynette.bakker@ag.ks.gov
Florida Office of the Attorney General            Kansas Office of Attorney General
PL-01 The Capitol                                 120 S.W. 10th Avenue, 2nd Floor
Tallahassee, FL 32399-1050                        Topeka, KS 66612-1597
850-414-3300                                      Phone: (785) 296-3751
Attorney for Plaintiff State of Florida           Attorney for Plaintiff State of Kansas
/s/ Richard S. Schultz                            /s/ Mario Guadamud
Richard S. Schultz (Admitted pro hac vice)        Mario Guadamud
Assistant Attorney General                        Assistant Attorney General
Office of the Illinois Attorney General           Complex Litigation Section
Antitrust Bureau                                  Louisiana Office of Attorney General
115 S. LaSalle Street, Floor 23                   1885 North Third Street
Chicago, Illinois 60603                           Baton Rouge, LA 70802
(872) 272-0996 cell phone                         Phone: (225) 326-6400
Richard.Schultz@ilag.gov                          Fax: (225) 326-6498
Attorney for Plaintiff State of Illinois          GuadamudM@ag.louisiana.gov
                                                  Attorney for Plaintiff State of Louisiana



                                              4
       Case 1:24-cv-03973-AS        Document 335       Filed 11/07/24     Page 5 of 8




/s/ Schonette J. Walker                           /s/ Zach Biesanz
Schonette J. Walker (Admitted pro hac vice)       Zach Biesanz
 Assistant Attorney General                       Senior Enforcement Counsel
 Chief, Antitrust Division                        Antitrust Division
 swalker@oag.state.md.us                          zach.biesanz@ag.state.mn.us
200 St. Paul Place, 19th floor                    Office of the Minnesota Attorney General
 Baltimore, Maryland 21202                        445 Minnesota Street, Suite 1400
 (410) 576-6470                                   Saint Paul, MN 55101
Attorney for Plaintiff State of Maryland          Phone: (651) 757-1257
                                                  Attorney for Plaintiff State of Minnesota
/s/ Katherine W. Krems
Katherine W. Krems (admitted pro hac vice)        /s/ Gerald L. Kucia
Assistant Attorney General, Antitrust             Gerald L. Kucia (pro hac vice forthcoming)
Division                                          Special Assistant Attorney General
Office of the Massachusetts Attorney              Gerald.Kucia@ago.ms.gov.
General                                           Mississippi Office of Attorney General
One Ashburton Place, 18th Floor                   Post Office Box 220
Boston, MA 02108                                  Jackson, Mississippi 39205
Katherine.Krems@mass.gov                          Phone: (601) 359-4223
(617) 963-2189                                    Attorney for Plaintiff State of Mississippi
Attorney for Plaintiff Commonwealth of
                                                  /s/ Justin C. McCully
Massachusetts
                                                  Justin C. McCully (pro hac vice
                                                  forthcoming)
/s/ LeAnn D. Scott                                Colin P. Snider (pro hac vice forthcoming)
LeAnn D. Scott (admitted pro hac vice)            Assistant Attorney General
Assistant Attorney General                        Consumer Protection Bureau
Corporate Oversight Division                      Office of the Nebraska Attorney General
Michigan Department of Attorney General           2115 State Capitol
P.O. Box 30736                                    Lincoln, NE 68509
Lansing, MI 48909                                 Tel: (402) 471-9305
Tel: (517) 335-7632                               Email: justin.mccully@nebraska.gov
Scottl21@michigan.gov                             Attorneys for Plaintiff State of Nebraska
Attorney for Plaintiff State of Michigan
                                                  /s/ Lucas J. Tucker
                                                  Lucas J. Tucker (admitted pro hac vice)
                                                  Senior Deputy Attorney General
                                                   Office of the Nevada Attorney General
                                                  Bureau of Consumer Protection
                                                  100 N. Carson St.
                                                  Carson City, NV 89701
                                                  Email: ltucker@ag.nv.gov
                                                  Attorney for Plaintiff State of Nevada



                                              5
       Case 1:24-cv-03973-AS          Document 335     Filed 11/07/24    Page 6 of 8




/s/ Zachary Frish                                 /s/ Sarah G. Boyce
Zachary A. Frish (admitted pro hac vice)          Sarah G. Boyce (admitted pro hac vice)
Assistant Attorney General                        Deputy Attorney General & General
Consumer Protection & Antitrust Bureau            Counsel
New Hampshire Attorney General’s Office           SBoyce@ncdoj.gov
Department of Justice                             North Carolina Department of Justice
1 Granite Place South                             Post Office Box 629
Concord, NH 03301                                 Raleigh, North Carolina 27602
(603) 271-2150                                    Phone: (919) 716-6000
zachary.a.frish@doj.nh.gov                        Facsimile: (919) 716-6050
Attorney for Plaintiff State of New               Attorney for Plaintiff State of North
Hampshire                                         Carolina
/s/ Yale A. Leber                                 /s/ Sarah Mader
Yale A. Leber (admitted pro hac vice)             Sarah Mader (Admitted pro hac vice)
Deputy Attorney General                           Assistant Attorney General
New Jersey Office of the Attorney General         Antitrust Section
124 Halsey Street, 5th Floor                      Sarah.Mader@OhioAGO.gov
Newark, NJ 07101                                  Office of the Ohio Attorney General
Phone: (973) 648-3070                             30 E. Broad St., 26th Floor
Yale.Leber@law.njoag.gov                          Columbus, OH 43215
Attorney for Plaintiff State of New Jersey        Telephone: (614) 466-4328
                                                  Attorney for Plaintiff State of Ohio
/s/ Jeremy R. Kasha
Jeremy R. Kasha                                   /s/ Robert J. Carlson
Assistant Attorney General                        Robert J. Carlson (pro hac vice forthcoming)
Jeremy.Kasha@ag.ny.gov                            Senior Assistant Attorney General
New York State Office of the Attorney             Consumer Protection Unit
General                                           Office of the Oklahoma Attorney General
28 Liberty Street                                 15 West 6th Street
New York, NY 10005                                Suite 1000
(212) 416-8262                                    Tulsa, OK 74119
Attorney for Plaintiff State of New York          Telephone: 918-581-2384
                                                  Email: robert.carlson@oag.ok.gov
/s/ Jeff Dan Herrera
                                                  Attorney for Plaintiff State of Oklahoma
Jeff Dan Herrera (pro hac vice forthcoming)
Assistant Attorney General
Consumer Protection Division
JHerrera@nmdoj.gov
New Mexico Department of Justice
408 Galisteo St.
Santa Fe, NM 87501
Phone: (505) 490-4878
Attorney for Plaintiff State of New Mexico


                                              6
       Case 1:24-cv-03973-AS             Document 335    Filed 11/07/24     Page 7 of 8




/s/ Tim Nord                                        /s/ Danielle A. Robertson
Tim Nord (admitted pro hac vice)                    Danielle A. Robertson (admitted pro hac
Special Counsel                                     vice)
Tim.D.Nord@doj.oregon.gov                           Assistant Attorney General
Civil Enforcement Division                          Office of the Attorney General of South
Oregon Department of Justice                        Carolina
1162 Court Street NE                                P.O. Box 11549
Salem, Oregon 97301                                 Columbia, South Carolina 29211
Tel: (503) 934-4400                                 DaniRobertson@scag.gov
Fax: (503) 378-5017                                 (803) 734-0274
Attorney for Plaintiff State of Oregon              Attorney for Plaintiff State of South
                                                    Carolina
/s/ Joseph S. Betsko
Joseph S. Betsko (admitted pro hac vice)            /s/ Aaron Salberg
Assistant Chief Deputy Attorney General             Aaron Salberg (pro hac vice forthcoming)
Antitrust Section                                   Assistant Attorney General
jbetsko@attorneygeneral.gov                         aaron.salberg@state.sd.us
Pennsylvania Office of Attorney General             1302 E. Hwy 14, Suite 1
Strawberry Square, 14th Floor                       Pierre SD 57501
Harrisburg, PA 17120                                Attorney for Plaintiff State of South Dakota
Phone: (717) 787-4530
                                                    /s/ Hamilton Millwee
Attorney for Plaintiff Commonwealth of
                                                    Hamilton Millwee (admitted pro hac vice)
Pennsylvania
                                                    Assistant Attorney General
/s/ Paul T.J. Meosky                                Office of the Attorney General and Reporter
Paul T.J. Meosky (admitted pro hac vice)            P.O. Box 20207
Special Assistant Attorney General                  Nashville, TN 38202
150 South Main Street                               Telephone: 615.291.5922
Providence, RI 02903                                Email: Hamilton.Millwee@ag.tn.gov
(401) 274-4400, ext. 2064                           Attorney for Plaintiff State of Tennessee
(401) 222-2995 (Fax)
                                                    /s/ Diamante Smith
pmeosky@riag.ri.gov
                                                    Diamante Smith (admitted pro hac vice)
Attorney for Plaintiff State of Rhode Island
                                                    Assistant Attorney General, Antitrust
                                                    Division
                                                    Trevor Young (admitted pro hac vice)
                                                    Deputy Chief, Antitrust Division
                                                    Office of the Attorney General of Texas
                                                    P.O. Box 12548
                                                    Austin, TX 78711-2548
                                                    (512) 936-1674
                                                    Attorney for Plaintiff State of Texas




                                                7
       Case 1:24-cv-03973-AS         Document 335     Filed 11/07/24      Page 8 of 8




/s/ Marie W.L. Martin                            /s/ Rachel A. Lumen
Marie W.L. Martin (admitted pro hac vice)        Rachel A. Lumen (admitted pro hac vice)
Deputy Division Director,                        Assistant Attorney General, Antitrust
Antitrust & Data Privacy Division                Division
mwmartin@agutah.gov                              Washington Office of the Attorney General
Utah Office of Attorney General                  800 Fifth Avenue, Suite 2000
160 East 300 South, 5th Floor                    Seattle, WA 98104-3188
P.O. Box 140830                                  (206) 464-5343
Salt Lake City, UT 84114-0830                    Rachel.Lumen@atg.wa.gov
Tel: 801-366-0375                                Attorney for Plaintiff State of Washington
Attorney for Plaintiff State of Utah
                                                 /s/ Douglas L. Davis
                                                 Douglas L. Davis (admitted pro hac vice)
/s/ Sarah L. J. Aceves
                                                 Senior Assistant Attorney General
Sarah L. J. Aceves (pro hac vice
                                                 Consumer Protection and Antitrust Section
forthcoming)
                                                 West Virginia Office of Attorney General
Assistant Attorney General
                                                 P.O. Box 1789
Consumer Protection and Antitrust Unit
                                                 Charleston, WV 25326
sarah.aceves@vermont.gov
                                                 Phone: (304) 558-8986
Vermont Attorney General’s Office
                                                 Fax: (304) 558-0184
109 State Street
                                                 douglas.l.davis@wvago.gov
Montpelier, VT 05609
                                                 Attorney for Plaintiff State of West Virginia
Phone: (802) 828-3170
Attorney for Plaintiff State of Vermont          /s/ Laura E. McFarlane
                                                 Laura E. McFarlane (admitted pro hac vice)
/s/ Tyler T. Henry
                                                 Assistant Attorney General
Tyler T. Henry (admitted pro hac vice)
                                                 Wisconsin Department of Justice
Senior Assistant Attorney General
                                                 Post Office Box 7857
Office of the Attorney General of Virginia
                                                 Madison, WI 53707-7857
202 North 9th Street
                                                 (608) 266-8911
Richmond, Virginia 23219
                                                 mcfarlanele@doj.state.wi.us
Telephone: (804) 786-2071
                                                 Attorney for Plaintiff State of Wisconsin
Facsimile: (804) 786-0122
thenry@oag.state.va.us                            /s/ William T. Young
Attorney for Plaintiff Commonwealth of           William T. Young
Virginia                                         Assistant Attorney General
                                                 Wyoming Attorney General’s Office
                                                 109 State Capitol
                                                 Cheyenne, WY 82002
                                                 (307) 777-7841
                                                 william.young@wyo,gov
                                                 Attorney for the Plaintiff State of Wyoming




                                             8
